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                                    4 Telephone: 424.204.4357
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                                    6 Attorneys for Defendant Diamond Resorts
                                      Hawaii Collection Development, LLC
                                    7
                                    8                     UNITED STATES DISTRICT COURT
                                    9                   CENTRAL DISTRICT OF CALIFORNIA
                                10 ANA B. GARCIA,                                       CASE NO. 2:19-cv-10168
                                11                      Plaintiff,
                                                                                        NOTICE OF REMOVAL
                                12           v.
                                                                                        (Pursuant to 28 U.S.C. § 1332 –
2029 Century Park East, Suite 800


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  Los Angeles, CA 90067-2909


  Los Angeles, CA 90067-2909




                                13 APPOLLO GLOBAL MANAGEMENT,                           Diversity)
     BALLARD SPAHR LLP


     BALLARD SPAHR LLP




                                   INC.; LEON DAVID BLACK; SCOTT M.
                                14 KLEINMAN; MARC JEFFREY ROWAN;
                                   DIAMOND RESORTS DEVELOPER AND
                                15 SALES HOLDING COMPANY;
                                   DIAMOND RESORTS INTERNATIONAL
                                16 CLUB, INC.; DIAMOND RESORTS
                                   INTERNATIONAL MARKETING, INC.;
                                17 MICHAEL FLASKEY; JASON COHEN;
                                   JAMES MIKOLAICHIK; LILLIAN LUU;
                                18 KEITH HOLMES; MICHAEL SHALMY;
                                   DIAMOND RESORTS IW RESORT
                                19 OWNERSHIP U.S. CORPORATION;
                                   DIAMOND RESORTS IW TRADING
                                20 COMPANY; DIAMOND IW VENTURES,
                                   INC.; DIAMOND RESORTS
                                21 MANAGEMENT, INC., DIAMOND
                                   RESORTS U.S. COLLECTION
                                22 MEMBERS ASSOCIATION; DIAMOND
                                   RESORTS INTERNATIONAL
                                23 FOUNDATION; DIAMOND RESORTS
                                   HAWAII COLLECTIONS
                                24 DEVELOPMENT, LLC; DIAMOND
                                   RESORTS HAWAII COLLECTION
                                25 MEMBERS ASSOCIATION; DIAMOND
                                   RESORTS, LLC; and DOES 1-50,
                                26 Inclusive,
                                27                             Defendants.
                                28

                                                                     NOTICE OF REMOVAL
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 1           TO THE UNITED STATES DISTRICT COURT FOR THE
 2           NORTHERN DISTRICT OF CALIFORNIA:
 3           PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, and
 4 1446, Diamond Resorts Hawaii Collection Development, LLC (“Diamond
 5 Hawaii”), removes the above-captioned action to the United States District Court for
 6 the Southern District of California on the following grounds:
 7     I.         Introduction
 8           1.     On October 10, 2019, Ana B. Garcia (“Garcia”), commenced an action
 9 in the Superior Court of the State of California, County of Los Angeles by filing a
10 complaint styled Ana B. Garcia v. Apollo Global Management, Inc, et al., Case No.
11 19CV36299.
12           2.     Through the complaint, Garcia seeks an award of damages, attorney’s
13 fees and costs.
14           3.     Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,
15 pleadings and orders received by Diamond are attached as Exhibit A.
16     II.        The Parties Are Diverse
17           4.     Garcia alleges she is a resident of California. See Compl. ¶ 1.
18           5.     Diamond Hawaii, which is a limited liability company, has a sole
19 member, Diamond Resorts Developer and Sales Holding Company.
20           6.     Diamond Resorts Developer and Sales Holding Company is a Delaware
21 corporation, with its principal place of business in Nevada.
22           7.     As a result, for the purposes of diversity jurisdiction, the removing
23 defendant is a resident of Delaware and Nevada.
24           8.     Further, upon information and belief, the other served defendant
25 Diamond          Resorts   Hawaii    Collection   Members      Association   (“Diamond
26 Association”), is a resident of Delaware and Nevada.
27           9.     Undersigned counsel asserts, pursuant to Rule 11 of the Federal Rules
28 of Civil Procedure, that Diamond Association consents to the removal.
                                              2
                                     NOTICE OF REMOVAL
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 1        10.     The parties therefore are diverse. See 28 U.S.C. §§ 1332(a), 1441(b)(2).
 2     III.     The Amount in Controversy Exceeds $75,000
 3        11.     Garcia’s complaint seeks to adjudicate rights and obligations relating
 4 to a contract Garcia entered into for a timeshare and also seeks recompense under
 5 state statutes for alleged wrongful or malicious conduct. See Compl. ¶¶ 19, 23
 6        12.     Based on the allegations, Garcia claims Diamond Collection’s conduct
 7 cost Garcia at least $25,000 in general damages. Id. ¶ 23.
 8        13.     Garcia also seeks punitive damages in excess of $150,000. Id. at ¶ 23.
 9        14.     Based on the allegations enumerated by Garcia in the complaint, the
10 amount in controversy exceeds $75,000.
11     IV.      The Procedural Requirements for Removal Are Satisfied
12        15. This Notice of Removal is timely, as a removal can be filed prior to
13 service of the defendants. See Monfort v. Adomani, Inc., No. 18-CV-05211-LHK,
14 2019 U.S. Dist. LEXIS 4230, at *11 (N.D. Cal. Jan. 8, 2019).
15        16. The Central District of California is the proper district court for removal
16 because the Superior Court of the State of California for the County of Los Angeles
17 is located within the United States District Court for the Central District of
18 California.
19        17. Diamond is concurrently filing a copy of this Notice of Removal of
20 Action with the Superior Court of the State of California for the County of Los
21 Angeles. Diamond will concurrently serve Garcia with copies of this Notice of
22 Removal and the Notice filed in the Action.
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                                           3
                                  NOTICE OF REMOVAL
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 1 Dated: November 27, 2019            Respectfully submitted,
 2
                                       BALLARD SPAHR LLP
 3
 4                                     By: s/ Nicholas M. Gross__________
                                         Nicholas M. Gross (SBN 285403)
 5
                                         grossn@ballardspahr.com
 6                                       Ballard Spahr LLP
                                         2029 Century Park East, Suite 800
 7                                       Los Angeles, CA 90067-2909
 8
                                          Attorneys for Defendant
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                              NOTICE OF REMOVAL
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                                    1                                  PROOF OF SERVICE

                                    2       I am a resident of the State of California over the age of eighteen years, and
                                    3 not a party to the within action. My business address is BALLARD SPAHR
                                      LLP, 2029 Century Park East, Suite 800, Los Angeles, CA 90067-2909. On
                                    4 November 27, 2019, I served the within documents:
                                    5                             NOTICE OF REMOVAL;
                                    6                        DISCLOSURE STATEMENT; and
                                    7                  NOTICE OF REMOVAL (STATE COURT),
                                    8              BY FAX: by transmitting via facsimile the document(s) listed above
                                                    to the fax number(s) set forth below on this date before 5:00 p.m.
                                    9
                                                   BY MAIL: by placing the document(s) listed above in a sealed
                                10                  envelope with postage thereon fully prepaid, in the United States
                                                    mail at Los Angeles, California addressed as set forth below. I am
                                11                  readily familiar with the firm’s practice of collection and processing
                                                    correspondence for mailing. Under that practice it would be
                                12                  deposited with the U.S. Postal Service on that same day with postage
2029 Century Park East, Suite 800


2029 Century Park East, Suite 800




                                                    thereon fully prepaid in the ordinary course of business. I am aware
  Los Angeles, CA 90067-2909


  Los Angeles, CA 90067-2909




                                13                  that on motion of the party served, service is presumed invalid if
     BALLARD SPAHR LLP


     BALLARD SPAHR LLP




                                                    postal cancellation date or postage meter date is more than one day
                                14                  after date of deposit for mailing in affidavit.
                                15                 BY E-MAIL: by attaching an electronic copy of the document(s)
                                                    listed above to the e-mail address listed below.
                                16
                                                   BY OVERNIGHT MAIL: by causing document(s) to be picked up
                                17                  by an overnight delivery service company for delivery to the
                                                    addressee(s) on the next business day.
                                18
                                                   BY PERSONAL DELIVERY:
                                19
                                               Ana B. Garcia                           Plaintiff Pro Se
                                20             2462 Lennox Street
                                               Pomona, California 91767
                                21             323.572.7268
                                22        I declare under penalty of perjury under the laws of the State of California
                                23 that the foregoing is true and correct.
                                24            Executed on this 27th day of November, 2019.
                                25
                                26
                                27                                            Debra A. Smith

                                28

                                                                        PROOF OF SERVICE
